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                         IN THE UNITED ST ATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                  ?
                                    Alexandria Division
                                                                                I
                                                                                ';
                                                                                     I
                                                                                         AUG I O 20!8
  BMG RIGHTS MANAGEMENT                       )
  (US) LLC, et al.,                           )
                                              )
                        Plaintiffs,           )
                                              )    Civil Action No. 1:14cvl61 I (LO/JFA)
        V.                                    )
                                              )
 COX COMMUNICATIONS, lNC., et al.,            )
                                              )
                        Defendants.           )


                                             ORDER
        On Friday, August I 0, 2018, counsel for the parties and for non-party Roger Vredenburg

 appeared before the court to present argument on the non-party's motion to quash plaintiffs' trial

  subpoena (Docket no. 992). Upon consideration of the motion, memorandum in support (Docket

 nos. 993-94), opposition (Docket no. 996), and reply (Docket no. 999), and for the reasons stated

 from the bench, it is hereby

        ORDERED that non-party Roger Vredenburg's motion to quash is denied.

        Entered this 10th day of August. 2018.

                                                       -:---,------/s/ __-.;
                                                        John F. Anderson
                                                                              :J��-
                                                      1�H8P.   SJ..'f1§��1strate Judge
                                                      United States Magistrate Judge
 Alexandria, Virginia
